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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

ANDRE R. JOHNSON,
                                           Civil Action File No.
       Plaintiff,
                                           _______________________
v.
                                           Removed from Fulton County State
THE KROGER CO.                             Court, Civil Action No. 23EV004834

       Defendant.                          JURY TRIAL DEMANDED

             DEFENDANT THE KROGER CO.’S ANSWER AND
               DEFENSES TO PLAINTIFF’S COMPLAINT

      COMES NOW The Kroger Co. (“Defendant” or “Kroger”), named as

defendant in the Complaint of Plaintiff Andre Johnson (hereinafter referred to as

“Plaintiff”), by and through undersigned counsel, and files this Answer and Defenses

thereto, further showing this honorable Court as follows:

                                FIRST DEFENSE

      Pending further investigation and discovery, and in order to preserve this

defense, Defendant raises defenses based on Plaintiff’s own contributory and/or

comparative negligence.




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                               SECOND DEFENSE

      Pending further investigation and discovery, and in order to preserve this

defense, Plaintiff, by the exercise of ordinary care, could have avoided the

consequences of any alleged act or alleged failure to act by Defendant.

                                THIRD DEFENSE

      Pending further investigation and discovery, the accident giving rise to

Plaintiff’s Complaint was caused by the acts or omissions of persons or entities other

than this Defendant.

                               FOURTH DEFENSE

      The Complaint fails to plead special damages with particularity as required by

O.C.G.A. § 9-ll-9(g) and Fed. R. Civ. P. 9(g).

                                FIFTH DEFENSE

      For a fifth defense, Defendant responds to the enumerated paragraphs of

Plaintiff’s Complaint (the “Complaint”) as follows:

                   PARTIES, JURISDICTION, AND VENUE

                                          1.

      Defendant lacks sufficient information to either admit or deny the allegations

in Paragraph No. 1, so those allegations are therefore denied.




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                                          2.

      Defendant admits the allegations in Paragraph No. 2.

                                          3.

      In response to Paragraph No. 3, Defendant admits that Georgia recognizes the

doctrine of respondeat superior which generally holds an employer vicariously

liable for the negligent acts of its employees performed during the course and scope

of their employment. However, Defendant denies that Paragraph No. 3 contains an

accurate and full description of said doctrine. Therefore, Defendant denies the

allegations in Paragraph No. 3 as pled.

                                          4.

      Defendant admits the allegations in Paragraph No. 4.

                                ALLEGED FACTS

                                          5.

      Defendant incorporates its defenses as well as its responses to all previous

paragraphs as if fully stated herein.

                                          6.

      Defendant lacks sufficient information to either admit or deny the allegations

in Paragraph No. 6, so those allegations are therefore denied.




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                                         7.

      Defendant lacks sufficient information to either admit or deny the allegations

in Paragraph No. 7, so those allegations are therefore denied.

                                         8.

      Defendant lacks sufficient information to either admit or deny the allegations

in Paragraph No. 8, so those allegations are therefore denied.

                                         9.

      Defendant lacks sufficient information to either admit or deny the allegations

in Paragraph No. 9, so those allegations are therefore denied.

                                        10.

      In response to Paragraph No. 10, Defendant admits that Plaintiff did receive

prescriptions for Levocarnitine at a Kroger Pharmacy located at 12460 Crabapple

Road, Alpharetta, Fulton County, Georgia. Defendant lacks sufficient information

to either admit or deny the remaining allegations in Paragraph No. 10, so those

allegations are therefore denied.

                                        11.

      Based on information and belief, Defendant admits the allegations in

Paragraph No. 11.




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                                         12.

      Defendant admits the allegations in Paragraph No. 12.

                                         13.

      Defendant lacks sufficient information to either admit or deny the allegations

in Paragraph No. 13, so those allegations are therefore denied.

                                         14.

      Defendant lacks sufficient information to either admit or deny the allegations

in Paragraph No. 14, as pled, so those allegations are therefore denied.

                                         15.

      In response to Paragraph No. 15, Defendant admits only that it did not

dispense Levocarnitine to Plaintiff in 2021. Defendant lacks sufficient information

to either admit or deny the remaining allegations in Paragraph No. 15, so those

allegations are therefore denied.

                                         16.

      Defendant lacks sufficient information to either admit or deny the allegations

in Paragraph No. 16, so those allegations are therefore denied.




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          COUNT I – ALLEGED PROFESSIONAL NEGLIGENCE

                                         17.

      Defendant incorporates its defenses as well as its responses to all previous

paragraphs as if fully stated herein.

                                         18.

      In response to Paragraph No. 18, Defendant admits that it did not sell or

otherwise provide Levocarnitine to Plaintiff in 2021. Defendant also admits that it

dispensed Levetiracetam to Plaintiff in 2021. Defendant further admits that it sent a

refill request for Levetiracetam. Defendant lacks sufficient information to either

admit or deny the remaining allegations in Paragraph No. 18, as pled, so those

allegations are therefore denied.

            ALLEGED COMPLIANCE WITH O.C.G.A § 9-11-9.1

                                         19.

      To the extent Paragraph No. 19 requires a response, Defendant admits that the

Complaint includes an Affidavit which purports to be from Brian D. Buck, Pharm.

D., FASHP. Defendant lacks sufficient information to authenticate said Affidavit

and therefore can neither admit or deny the Affidavit is authentic or accurate, so any

remaining allegations contained in Paragraph No. 19 (both implied and expressed)

are therefore denied.


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                                          20.

      All allegations not expressly admitted in this Answer are hereby expressly

denied.

                                          21.

      In response to Plaintiff’s unnumbered WHEREFORE paragraph and all its

subparts, Defendant denies all allegations contained therein requiring a response.

      WHEREFORE, having fully responded to the averments in Plaintiff’s

Complaint, Defendant The Kroger Co. respectfully prays:

      (a)    That judgment be rendered on Plaintiff’s Complaint in its favor and

             against Plaintiff;

      (b)    That the costs of Plaintiff’s action be taxed against Plaintiff;

      (c)    For a trial by jury of twelve (12) members; and

      (d)    For such other and further relief as is meet and just.

      Respectfully submitted, this 8th day of September, 2023.

GRAY, RUST, ST. AMAND,                      /s/ Marc Hood
MOFFETT & BRIESKE, L.L.P.                   Matthew G. Moffett
950 East Paces Ferry Road, N.E.             Georgia Bar No. 515323
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            mhood@grsmb.com


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  CERTIFICATE OF SERVICE AND OF COMPLIANCE WITH L.R. 5.1

      This is to certify that on this date, the undersigned filed a true and correct copy

of DEFENDANT THE KROGER CO.’S ANSWER AND DEFENSES TO

PLAINTIFF’S COMPLAINT with the Clerk of Court using the CM/ECF system

which will send electronic notification to all parties having appeared of record in this

action:

                             Paul I. Hotchkiss, Esq.
                            Maggie L. Stewart, Esq.
                          HOTCHKISS LAW FIRM LLC
                              185 E. Lake Ter., SE
                               Atlanta, GA 30317

      Further, this is to certify that the foregoing pleading complies with the font

and point selections approved by the Court in Local Rule 5.1. It is prepared in Times

New Roman 14-point font.

      Dated this 8th day of September, 2023.

 GRAY, RUST, ST. AMAND,                      /s/ Marc Hood
 MOFFETT & BRIESKE, L.L.P.                   Matthew G. Moffett
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